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                        UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


 SINCERE TERRY, et al.

          Plaintiffs,

 v.                                                Case No. 5:22-cv-522-C

 CITY OF OKLAHOMA CITY,                            Hon. Charles B. Goodwin
 OKLAHOMA, et al.

          Defendants.



                 PLAINTIFFS’ MOTION FOR STATUS CONFERENCE
         In light of Defendants’ pending Motions to Dismiss (Dkt. Nos. 40–42), Plaintiffs

respectfully request that the Court schedule a status conference in this matter to discuss

the status of the case and pending motions. In support of this motion, Plaintiffs state:

      1. On November 16, 2023, Plaintiffs filed a Notice of Pending Motions in this Court,

         (Dkt. No. 58), bringing to this Court’s attention that the Defendants’ Motions to

         Dismiss had been fully briefed and pending for over eleven (11) months. These

         dispositive motions have now been ripe for decision for over a year.

      2. The pendency of Defendants’ Motions to Dismiss bars Plaintiffs’ access to

         ordinary discovery. LCvR 26.3(a). Absent prompt access to discovery, Plaintiffs

         cannot prepare and prosecute their case to resolution.

      3. As long as this case remains unresolved, Plaintiffs face ongoing and significant

         suppression of their constitutionally protected expression as result of Defendants’



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       actions. Plaintiffs are unable to protest or engage in advocacy as they once did, in

       leadership positions and on the front lines; indeed, some Plaintiffs have been

       unable to protest altogether. (Webb Decl., ¶¶ 4–6; Nabors Decl., ¶¶ 6–8; Hogsett

       Decl., ¶¶ 3–7; Mack Decl., ¶¶ 4, 12; Baker Decl., ¶¶ 7–8; Terry Decl., ¶¶ 4–5).

       Plaintiffs are also unable to speak freely online, particularly about police

       misconduct or criminal legal reform. (Webb Decl., ¶ 7; Nabors Decl., ¶ 9; Hogsett

       Decl., ¶¶ 9–11; Mack Decl., ¶¶ 9, 12; Baker Decl., ¶¶ 6–8; Terry Decl., ¶ 8).

       Plaintiffs have also limited going out, driving, and participating in public events in

       Oklahoma City. (Webb Decl., ¶¶ 8–9; Nabors Decl., ¶ 5; Mack Decl., ¶¶ 6, 10–11;

       Baker Decl., ¶ 4; Terry Decl., ¶ 6).

   4. Defendants do not object to the relief requested.

       Mindful that this case has been reassigned twice (Dkt. Nos. 48, 51), Plaintiffs

respectfully request a status conference to address the status of the case and motions

pending before the Court.

                                                  Respectfully submitted,
                                                  /s/ Devraat Awasthi
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                                                  Counsel for Plaintiffs


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                             CERTIFICATE OF SERVICE

       I hereby certify that on February 20, 2024, I electronically filed Plaintiffs’ Motion

for Status Conference with the Clerk of Court via the Court’s CM/ECF system, which

effects service upon all counsel of record.


                                                  /s/ Devraat Awasthi
                                                  Devraat Awasthi




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